          Case 1:18-cr-10345-RGS Document 72 Filed 12/03/20 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


                                           )
 UNITED STATES OF AMERICA                  )
                                           )
          v.                               )     Crim. No. 18-cr-10345-RGS-JGD
                                           )
 NICOLE A. LESCARBEAU,                     )
                                           )
                          Defendant        )

                       ASSENTED-TO MOTION TO CONTINUE
                    THE DECEMBER 9, 2020 SENTENCING HEARING

        The United States of America, by Andrew E. Lelling, United States Attorney, respectfully

requests that the Court continue the sentencing hearing currently scheduled for December 9, 2020,

see Dkt. 67, to a date convenient to this Court on or after January 20, 2021. Counsel for the

defendant assents to this request.

        On December 2, 2020, the defendant, Nicole A. Lescarbeau, in this above-captioned matter

was charged in criminal complaint with one count of bank fraud in connection embezzling

approximately $56,000 from a non-profit. See 20-mj-4322 at Dkt. 1. Earlier today the defendant

was arrested in connection with this new offense, and the criminal complaint was unsealed. See

id. at Dkt. 7.

        Given these developments, a brief continuance of the defendant’s sentencing hearing is

necessary for the Probation Office and the parties to determine how this new charge and criminal

conduct will affect the sentence imposed in this matter, including, but not limited to, the impact

on the plea agreement, sentencing guidelines, and the sentencing factors set out in Title 28, United

States Code, Section 3553(a).

        Accordingly, the United States respectfully requests that the Court continue the defendant’s
         Case 1:18-cr-10345-RGS Document 72 Filed 12/03/20 Page 2 of 3




sentencing hearing currently scheduled for December 9, 2020, to a date convenient to this Court

on or after January 20, 2021.



                                           Respectfully submitted,

                                           ANDREW E. LELLING
                                           United States Attorney


Dated: December 3, 2020             By:
                                           JUSTIN D. O’CONNELL, BBO No. 683695
                                           Assistant United States Attorney
                                           John Joseph Moakley Courthouse
                                           One Courthouse Way, Suite 9200
                                           Boston, Massachusetts 02210
                                           Tel: (617) 748-3130
                                           Justin.O’Connell@usdoj.gov




                                              2
         Case 1:18-cr-10345-RGS Document 72 Filed 12/03/20 Page 3 of 3




                               CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.




       Dated: December 3, 2020             By:
                                                   JUSTIN D. O’CONNELL
                                                   Assistant United States Attorney




                                              3
